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                                        ORDERED.


     Dated: September 25, 2018




                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION


In Re:                                                      Case No. 6:10-bk-19511-KSJ

SUSAN DAWN HARRISON

         Debtor.
                                 /

              AGREED ORDER PARTIALLY SUSTAINING
  DEBTOR’S OBJECTION TO AMENDED PROOF OF CLAIM NO. 9-2 FILED BY
 FEDERAL NATIONAL MORTGAGE ASSOCIATION (FANNIE MAE)(DOC. NO. 78)

         This case came before the court on September 18, 2018, upon the Debtor’s Objection to

Amended Proof of Claim No. 9-2 filed by Federal National Mortgage Association (Fannie Mae)

(Doc. No. 78). Pursuant to Local Rule 9072-1 ( c), by submission of this order for entry, the

submitting attorney, David L. Wildman, attorney for Debtor, represents that Federal National

Mortgage Association (Fannie Mae), through its attorney Joshua M. Liszt, Esq., consents to the

entry of this order. Therefore, it is
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       ORDERED:

       1.      The Objection is partially sustained.

       2.      Federal National Mortgage Association (Fannie Mae) shall receive an amount not
               greater than $31,402.03 as payment in full of Claim No. 9-2.




Attorney David L. Wildman is directed to serve a copy of this order on interested parties and file
a proof of service within 3 days of entry of the order.
